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lN THE UN|TED STATES DlSTR|CT COURT FOR THE
SOUTHERN DlSTR|CT OF FLOR|DA

Case No. 13-cv-24354-ClV-COOKENORRES

TA|WAN SMART,

P|aintiff,
THE HONORABLE MARC|A G. COOKE

VS.

THE C|TY OF M|AM|,

Defendant.
/

 

PLAINT|FF’S MOT|ON TO COMPEL C|TY TO PAY JUDGMENT OR FACE ORDER
OF CONTEMPT OF COURT

ln a fitting next step in the City’s unre|enting crusade to ruin the life of a young
man, a process that it started on November 13, 2009, when Taiwan was unjustly and
illegally arrested by City of Miami police detectives seeking a nationwide audience for
their budding acting careers and a City anxious to promote its bad boy image and
sunshine, secured by lying to a circuit judge and basically framing Taiwan.

Starting on that date, the City and its thug detectives have been unrelentingly
unapologetic, starting with his arrest, the unconscionable period of questioning for 15
hours, imprisonment for 19 months, living under the fear of a life in prison for something
he did not do, having his face and name and the charges paraded over national
television for four years, emotionally scarring him, perhaps permanently, and

unashamedly refusing to admit error, then litigated every issue in the trial court, post-

trial, appeal and post appeal to the limits of the rules of ethics and human decency, and

 

 

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now, after the City promised to pay any judgment affirmed by the E|eventh Circuit within
eight days, has refused to honor that commitment.

Yesterday, months after the entry of a mandate by the E|eventh Circuit, and 31
days after this Court entered its Amended Judgment; the City chose to pay not the
judgment amount, but rather $404,500.00. Why? Well, they have deducted $350,000
because they claim that the state claims were limited to $100,000, even though this
Court rejected that argument, and the City never appealed it.1

These people are without remorse and clearly think they can do whatever they
want to do, including ignoring representations made to the Court regarding payment,
representations made to convince the Court that the City need not post a bond, and
then simply to ignore this Court and its orders. lt is time for the Court to drop the
hammer on the City and compel it to either pay the balance due today of $301 ,836.75,2

or be held in contempt of this Court.

 

1 True to form the City even tried a lame attempt to have that sum settle all of his claim, short-
circuited by having his lawyer go with him to pick up the check. See Exhibit “A.:

2 Post-Judgment |nterest Calcu|ations

The judgment principal on 8/12/2015 was $707,950.00.

$2,555.60 interest accrued at 0.36% on the $707,950.00 principal for 366 days. |nterest was
compounded on 8/‘|2/2016 resulting in interest of $0.00, a principal of $710,505.60, and a total
value of $710,505.60.

$2,557.82 interest accrued at 0.36% on the $710,505.60 principal for 365 days. |nterest was
compounded on 8/12/2017 resulting in interest of $0.00, a principal of $713,063.42, and a total
value of $713,063.42.

$2,567.03 interest accrued at 0.36% on the $713,063.42 principal for 365 days. |nterest was
compounded on 8/12/2018 resulting in interest of $0.00, a principal of $715,630.45, and a total
value of $715,630.45.

$705.83 interest accrued at 0.36% on the $715,630.45 principal for 100 days resulting in
interest of $705.83, a principal of $715,630.45, and a total value of $716,336.28.

Judgment value as of 11/20/2018: $716,336.28.

Territo§y: Federal (US)

Ca|culation method: Compound (fixed)

Statute of Limitations: 20 years

Agg|icable ru|e: 28 U.S.C. 1961(a)

Less: $404,500.00 paid on 11.19.18

 

 

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On October 19, 2018, this Court entered its Amended Judgment in favor of
P|aintiff. (D.E. 171). Unti| yesterday, the City of Miami had refused payment of the
Amended Judgment, despite prior representations to this Court that it would pay within
eight business days. As a result, P|aintiff moves for an order of this Court directing that
the City pay the balance due of $301,836.75 or that the Court schedule an evidentiary
hearing as to why the City has not paid P|aintiff, and if the City’s prior representations
that this Court relied on were made in bad faith. ln support thereof, P|aintiff states the
following:
On October 4, 2016, the City of Miami filed its Motion To Stay Execution of
Money Judgment Pending Appeal (D.E. 140) seeking a stay of execution “during the
pendency of the city’s appeal to the E|eventh Circuit Court of Appeal.” ln it, the City
states:
lt is clear that P|aintiffs’ [sic] interests in this matter will not be
adversely impacted if the bond requirement is waived as there is
ample evidence that the judgement will be promptly satisfied if
sustained on appeal. Thus, there is no reason to require the City
to go through the time and expense of purchasing the posting a
bond while its appeal is pending.

ld. at 4.

The City, in support, attached the affidavit of Christopher Rose who stated that
the “entirety of the Judgement” would be paid “within eight (8) business days of the
Judgment being affirmed on appeal.” ld. at Exhibit 1 at 111 1.

As a result of those very representations, P|aintiff did not object, and this Court

granted the City’s motion. As stated by this Court “[i]n light of P|aintiff’s Notice of his

lack of objection, and Defendant’s representations therein, the Defendant’s motion is

Granted.” (D.E. 148) And now, true to form, the City has refused to pay the very same

 

 

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judgment it represented to the Court it would pay upon affirmance and at the latest
within eight (8) business days.

To be clear, it has been over two months since the judgment was affirmed on
appeal and the E|eventh Circuit Court of Appeals issued its mandate. (D.E 171). lt has
also been over two weeks since this Court’s Amended Judgment. And yet, honing to its
standard of insensitive persecution of young Taiwan, the City now decides that it does
not have to comply with the mandate of the E|eventh Circuit or honor its word, it will just
decide that an issue that has been litigated and lost is nonetheless available for it to

continue its shameless conduct.3

 

3 Of course, the issue of sovereign immunity is either covered by the exceptions in F|a. Stat §
768.28, or based upon the voluntary waiver of such a cap by Miami’s agreement to pay within
eight days of affirmance by the E|eventh Circuit. What Miami cannot do is just sit back, raise the
immunity issue, lose the point, and then claim that it miraculously survives to protect it.
Significantly, the City raised in its Motion For Remittitur, the very point that it did not appeal
but now wants the Court to allow it to raise after the E|eventh Circuit affirmed all issues not
argued below:
V|ll. Motion to Alter or Amend Judgment

The Plaintiff’s arguments in response to the City’s assertion that the court should

alter or amend the final judgment so as to reflect the liability for each of the four

claims at issue, is that the false imprisonment claim is not capped at $100,000,

and that there is no authority for the relief requested by the City, [D.E. 125, 18].

However, the sovereign immunity cap applicable to this matter is $100,000, as

asserted by the City. See 768.28(5), F|a. Stat. (2010) (“Neither the state nor its

agencies or subdivisions shall be liable to pay a claim or a judgment by any one

person which exceeds the sum of $100,000”); Ch. 2010-26, § 1, Laws of F|a.

(amended subsection (5) to raise individual claimant cap to $200,000, effective

October 1, 2011, and applicable to claims arising on or after that date). And,

contrary to the Plaintiff’s assertion, the court is required to apply section

768.28(5), Florida Statutes. See Comer v. City of Palm Bay, 147 F. Supp. 2d

1292, 1298 (lVl.D. F|a. 2001) (“Rule 69(a) requires this Court to apply Florida law

regarding the enforcement of Comer's lVlay 30, 2000 judgment The relevant

Florida law is F|a. Stat. § 768.28(5), which requires that recovery against a

municipality in excess of the specified caps must be through legislative

appropriation rather than judicial enforcement of a judgment.”) As suchl the court

should amend the final judgment so as to allow the City to avail itself of the state-

law sovereign immunity cap.

 

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As a result, P|aintiff requests that this Court hold an evidentiary hearing
mandating that Mr. Christopher Rose and counsel for the City appear before it to
determine if sanctions should be imposed for willful misrepresentations to this Court. ln
support thereof, P|aintiff states the following:

Courts “have the inherent power to police those appearing before them.” w
Purchasing Power, LLC v. Bluestem Brands, lnc., 851 F.3d 1218, 1123 (11th Cir.2017).
The power is not governed by rule or statute “but by the control necessarily vested in
courts to manage their own affairs so as to achieve the orderly and expeditious disposition
of cases.” ld. A “court may exercise this power ‘to sanction the willful disobedience of a
court order, and to sanction a party who has acted in bad faith, vexatious|y, wantonly, or
for oppressive reasons. . . . The dual purpose of this power is to vindicate judicial authority
without resorting to a contempt of court sanction and to make the prevailing party whole."

ld. The key “to unlocking a court’s inherent power is a finding of bad faith.”

CONCLUS|ON
The City is a bad actor that needs to have decisive action taken against it. lt has
seriously wounded Taiwan and not only remains militantly irresponsible and callous|y
insensitive to what it has done. Taiwan has waited over nine years for justice. He now
has received only part of what has been affirmed by the E|eventh Circuit and awaits

counsel fees and costs to be awarded.

 

Rep/y To Plaintiff’s Response To Defendant’s Ru/e 59 Alternative Motion For New Trial And
For Remittitur And To Alter Or Amend Judgment at 8-9. The point has been waived on appeal
and cannot be raised now

 

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The famous law enforcement philosopher, Baretta, used to say: “You can beat the

rap but not the ride.”4 The City has raised this principal to the level of a sacrament. The

_ Court needs to make it pay, and pay soon. The last time that the parties were in Court,
the trial judge mused that she expected prompt payment. That was weeks ago. The City’s
response matches the callousness and insensitivity of its homicide detectives, who were
and continue to be quite satisfied to have attempted to advance their nascent Hollywood
careers on the back of Taiwan, who had to wait seven years to start to have his reputation
capable of beginning a rebuilding process.

The Court should orderthe City to pay or hold it in in contempt until it does, perhaps
by jailing some official like Mr. Rose. until the City complies or imposing a daily monetary
sanction until it does.

Dated: November 20, 2018
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2555 Ponce De Leon Blvd., Suite 600
Coral Gables, Florida 33134
Telephone: 305.476.7105
Facslmile: 305.675.7707
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Attorneys for the Plaintiff, Taiwan Smart

 

4 Baretta is an American detective television series which ran on _A§_C_)_ from 1975-78.The show
was a revised and milder version of a 1973-74 ABC series, Toma, starring Tony lVlusante as
chameleon-like, real-life New Jersey police officer David Toma. When Musante left the series
after a single season, the concept was retooled as Baretta, with Robert Blake in the title role.

Wikipedia, en.wikipedia.org/wiki/Baretta

 

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_ERT|F|CAT§ OF S_ERV|C§

l hereby certify that on November 20, 2018, l electronically filed the foregoing
document with the Clerk of Court using CM/ECF. l also certify that the foregoing document
is being served this day on all counsel or record or pro se parties identified below in the
manner specified, either via transmission of Notices of E|ectronic Flling generated by
CM/ECF or in some other authorized manner for those counsel or parties who are not
authorized to receive electronically Noticed E|ectronic Filing.

By: /s/Joseph P. Klock, Jr.
Joseph P. Klock, Jr., Esq. FBN 156678

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Attorneys for Defendant, City of Miami

 

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Titg uf Miami

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November l9, 2018

Joseph P. Klock, Jr., Esq.

Rasco Klock Perez & Nieto, P.L.
2555 Ponce De Leon Blvd., Suite 600
Coral Gables, FL 33134

RE: Taiwan Smart v. City of Miami
Case No.: 13-CV-24354-MGC

Claim No.: 000757-062374-PP-01
Dear Mr. Klock:

Please find enclosed Check No. 24774 m the amount of Four Hundred Four Thousand
Five Hundred Dollars and 00/100 ($404, 500. 00) in.£.\ll-asd=£mo&lement-e-£&e-elem.o£r i ~,& ~w
ad Taiwan Smart awn the above-referenced lawsuit.

I would appreciate your signing the original of this letter, indicating your receipt of these

settlement funds and returning the same to me.

Sincerely,

/s/ Henry J. Hunnefech
Henry J. Hunnefeld

Sr. Assistant City Attorney

ACKNOWLDEGEMENT OF RECEIPT

This Will acknowledge receipt of USIS, lnc., for the City of Miami, Check No. 24774` in
the amount of $404, 500. 00 in-§ll\l-'a‘r!d'fnm\l-sodlomon&o£ the claims of Taiwan Smart asserted in

 

 

 

the above-referenced matter. 'r°“ »/\'J

Date: ll. \“. lY /L,
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OFF|CE OF THE ClTY ATTORNEY / 444 S.W. 2nd Avenue, Suite 945 / Miami, Florida 33130-1910

 

 
  

 

 

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